
722 S.E.2d 788 (2012)
Gail Parker SPOONER
v.
Eiford CLEMMONS, Sr.
No. 533P11.
Supreme Court of North Carolina.
March 8, 2012.
Chris Kremer, for Spooner, Gail Parker.
Stephen C. Baynard, for Clemmons, Eiford, Sr.

ORDER
Upon consideration of the petition filed on the 6th of December 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of March 2012."
